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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 TIMOTHY O’NEIL,

                Plaintiff,                          CIVIL ACTION FILE
 v.                                                 NO. 1:21-CV-04173-AT-CCB

 SHERIFF VICTOR HILL,

                Defendant.


 REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

      Defendant Sheriff Victor Hill (“defendant”) files this reply brief in support of

his motion to dismiss. (Doc. 7.)

           I.     ARGUMENT AND CITATION OF AUTHORITY

A.    Plaintiff’s Claims are Subject to Dismissal Under the PLRA Due to His
      Failure to Exhaust Administrative Remedies

      As set forth in defendant’s initial brief, plaintiff did not submit a grievance

regarding the conditions of his confinement while he was at the Clayton County Jail

(“CCJ”). In his response, “[p]laintiff does not dispute that he was a pretrial detainee

subject to the PLRA’s exhaustion requirement, he does not dispute [d]efendant Hill’s

claim that there was a written policy at the Clayton County Jail allowing inmates to

file grievances, and he does not claim that he filed a grievance.” (Doc. 9 at 2.)


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      However, plaintiff contends that the grievance procedure was unavailable to

him because plaintiff contends that (1) he was never given an inmate handbook or

told about the grievance procedure at CCJ; and (2) he was thwarted from submitting

a grievance because he contends that using the grievance procedure would have

subjected him to “more of the same – the restraint chair and the special mental health

area[.]” (Doc. 9 at 5, 11.) As shown below, both of plaintiff’s contentions fail. The

grievance procedure was available to plaintiff, and because he failed to properly

utilize same prior to filing this lawsuit, his complaint is barred by the PLRA.

      1.     Challenge to the Availability of the Grievance Procedure Fails

      In his response, plaintiff states that the grievance procedure was unavailable

to him because he was never given an inmate handbook or told about the grievance

procedures. (Doc. 9 at 5.) “While the burden is on the defendant to show an

available administrative remedy, once that burden has been met, the burden going

forward shifts to the plaintiff, who, pursuant to Turner v. Burnside, 541 F.3d 1077

(11th Cir. 2008), must demonstrate that the grievance procedure was ‘subjectively’

and ‘objectively’ unavailable to him.” Geter v. Baldwin State Prison, 974 F.3d 1348,

1356 (11th Cir. 2020); see also Maldonado v. Ford, No. 5:19-cv-421 (MTT), 2021

U.S. Dist. LEXIS 237344, at *3 (M.D. Ga. Dec. 13, 2021). Defendant’s moving brief

makes clear that a grievance procedure exists at the CCJ, and plaintiff does not

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contest that fact. (Docs. 5-6; Doc. 9 at 2.) Consequently, plaintiff’s argument relies

solely on the alleged unavailability of the remedy. While “[a]n administrative

procedure that is unknown and unknowable is unavailable,” Presley v. Scott, 679

F. App’x 910, 912 (11th Cir. 2017), the grievance procedure at the CCJ is neither of

those things.

      Plaintiff’s brief provides guidance as to the definition of an unavailable

administrative remedy. As stated therein, courts recognize

                three situations where an administrative procedure is
                unavailable: (1) when it operates as a simple dead end—
                with officers unable or consistently unwilling to provide
                any relief to aggrieved inmates; (2) when an
                administrative scheme is so opaque it becomes incapable
                of use; and (3) when prison administrators thwart inmates
                from taking advantage of a grievance process through
                machination, misrepresentation, or intimidation.

(Doc. 9 at 3) (citing Ross v. Blake, 578 U.S. 632, 643-44 (2016)). Additionally,

“when a remedy is, in Judge Carnes’s phrasing, essentially ‘unknowable’—so that

no ordinary prisoner can make sense of what it demands—then it is also

unavailable.” Blake, 578 U.S. at 644; Turner, 541 F.3d at 1084.

      As set forth in Sergeant Huitt’s declaration, the CCJ has a clear grievance

procedure whereby inmates “are required to use the kiosk system to electronically

submit grievances” and all inmates are informed and educated about same during

orientation and CCJ staff are available to answer any questions about submitting
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grievances. (Doc. 6 at ¶¶ 4, 5.) The kiosks are located in every housing unit at the

CCJ. (See Declaration of Major Martin (“Martin Decl.”) attached hereto as Exhibit

A, ¶ 7.) Following a successful login by an inmate, they are offered a variety of

options including, but not limited to, (i) reviewing a digital copy of the inmate

handbook; (ii) making medical requests and/or general requests; and (iii) submitting

a grievance. (See Exhibit A at ¶ 9; Exhibit 1 at 2.) It is worth noting that all these

options, among others, appear on a single consolidated user-friendly home page.

(See Exhibit 1 at 2.)




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      Throughout plaintiff’s incarceration at the CCJ, he repeatedly utilized the

kiosks to submit requests—from the mundane (haircut), to important requests

seeking medication and treatment for his mental health. (See Exhibit 2.) Plaintiff

utilized the kiosk system and submitted inmate requests as early as October 27, 2019.

(Exhibit 2.) Plaintiff knew how to use the kiosk and through same had access to the

grievance system, but plaintiff deliberately chose not to submit a grievance. Plaintiff

also had access to the inmate handbook through the kiosk. (Exhibit 1.) For this

reason, plaintiff’s reliance on Goebert v. Lee Cnty., 510 F.3d 1312, 1323 (11th Cir.

2007), where an inmate was not given access to an inmate handbook is misplaced.

Plaintiff’s alleged lack of knowledge about the functionality of the kiosks or

submitting grievances is belied by his own conduct and therefore should be rejected.

See, e.g., Doe v. Sheely, 855 F. App'x 497, 500 (11th Cir. 2021) (“The record further

shows Doe knew she could file grievances with Spalding County jail about the

Meriwether County jail, as evidenced by her filing of several such grievances and

requests.”).

      Moreover, plaintiff’s “unawareness” argument was presented to a district

court in this Circuit and summarily rejected. See e.g., Youmans v. St. Lucie Cty.

Jail, No. 15-14164-Civ-MARRA, 2018 U.S. Dist. LEXIS 8944, at *55 (S.D. Fla.

Jan. 18, 2018). The plaintiff in Youmans argued, similar to plaintiff in the instant

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case, that he “was unaware that he had to complain or otherwise grieve the issues.”

Id. Like in Youmans, this is “refuted by the record evidence.” (See Exhibit 2.) The

district court was not persuaded by this lack of awareness argument as making the

grievance procedure unavailable because there was not a “dead end” or “opaque”

administrative scheme, or “thwarting” of the grievance process. Id. at *20-21 (citing

Blake, 136 S. Ct. at 1852).

      There can be no dispute that plaintiff was cognizant of, and familiar with, the

functionality of the kiosks within the CCJ. Defendant has submitted declarations

from a Major and Sergeant within the CCJ who swear to the functionality of the

kiosks and that inmates are informed, and well aware of, the grievance procedure.

Additionally, as shown by the evidence, plaintiff’s repeated kiosk entries undercut

any contention that the process was unknown or unavailable to him. In fact, plaintiff

submitted ten requests in seventeen days on the same kiosks inmates use to file

grievances. (See Exhibit 2.)

      Plaintiff’s argument that the SOP describes a paper-based grievance

submission process is also immaterial because the process is the same. As

mentioned, inmates are educated at orientation on how to use the kiosk, which

plaintiff clearly had no trouble doing throughout his detention. Consequently, the

grievance procedure at the CCJ is understood and available as required by the PLRA.

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      2.     Plaintiff’s Allegations of Intimidation Are Insufficient to Excuse
             the Exhaustion Requirement at the CCJ

      Plaintiff next contends that the grievance procedure was unavailable to him

because he contends that if he complained about the facility, he would face

additional punishment. (Doc. 9 at 11.) An inmate’s general fear that he might suffer

retaliation, however, is not enough to deem the grievance procedure unavailable for

purposes of avoiding a PLRA dismissal. See Poole v. Rich, No. CV606-68, 2007

U.S. Dist. LEXIS 55794 at *2 (S.D. Ga. Aug. 1, 2007) aff’d, 312 F. App’x 165 (11th

Cir. 2008) (“[T]he exhaustion requirement is not excused merely because a plaintiff

alleges that he was threatened with being beaten if he complained”); see also Garcia

v. Glover, 197 F. App’x 866, 867-68 (11th Cir. 2006) (affirming dismissal of

complaint based on failure to exhaust when the plaintiff alleged that officers “‘most

likely’ would have ‘killed’ him or ‘shipped him out” if they learned the plaintiff had

filed a complaint).

      To successfully excuse a failure to exhaust “more than mere threats are

normally required. Generally to excuse exhaustion an inmate must allege both

threats of retaliation as well as the use of physical force in response to the filing of

grievances.” Porter v. Baxter, No. 5:10-CV-206-RS-GRJ, 2012 WL 684803, at *4

(N.D. Fla. Jan. 30, 2012) report and recommendation adopted, No. 5:10-CV-

206/RS-GRJ, 2012 WL 760628 (N.D. Fla. Mar. 8, 2012); see also Kaba v. Stepp,
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458 F.3d 678, 684-86 (7th Cir. 2006) (finding that exhaustion could be excused

where prisoner was threatened with beating for filing grievances and threat was

carried out); Hemphill v. New York, 380 F.3d 680, 689 (2d Cir. 2004) (noting that

if inmate was assaulted and threatened to keep him from complaining, exhaustion

should be excused).

      Notably the Eleventh Circuit has held that a prisoner who had been threatened

with retaliation by prison officials if he filed a grievance was excused from

complying with the PLRA’s exhaustion requirements. Turner, 541 F.3d at 1085.

However, in order for the threat to be sufficient to excuse the exhaustion

requirements, the Eleventh Circuit held that the prison official must make “serious

threats of substantial retaliation against an inmate for lodging in good faith a

grievance” and also that the following two conditions must be met: (1) that the threat

actually deter the plaintiff inmate from lodging a grievance or pursuing a particular

process; and (2) the threat is one that would deter a reasonable inmate of ordinary

firmness and fortitude from lodging a grievance or pursuing the part of the grievance

process that the inmate failed to exhaust. Id. Plaintiff completely fails to make a

sufficient showing to satisfy this test.

      Here, plaintiff’s bald assertion that “[w]hen [he] was told to keep [his] head

down and keep [his] mouth shut, [he] took that to mean that [he] would get more of

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the same—the restraint chair and the special mental health area—if [he] said

anything” (Doc. 9 at ¶ 20) does not rise to the level of a threat or intimidation that

would deter a reasonable inmate from using the grievance procedure. On the

contrary, no such statement explicitly directed plaintiff to refrain from using the

kiosks for any approved function, nor did he abstain from doing so. More

importantly, plaintiff does not allege anywhere that defendant Sheriff Hill, or any

other CCJ officer, used physical force to prevent his use of, or in retaliation for his

use of, the readily available kiosks. This completely distinguishes the instant case

from Turner.1 Plaintiff’s purported fear based on one alleged comment is too

speculative to excuse plaintiff from pursuing his administrative remedies. See, e.g.,

Mitchell v. Rivera, No. 4:13-1949-TMC, 2014 U.S. Dist. LEXIS 90627, at *10

(D.S.C. July 3, 2014) (finding that where plaintiff did not allege that defendant

threated retaliation if he pursued administrative remedies specifically, fear of

violence was “too speculative” to excuse exhaustion of administrative remedies).

Moreover, plaintiff was completely undeterred from submitting requests through the


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  More specifically, in Turner the inmate alleged that after he filed his initial
grievance the warden called him to security, personally threatened him, tore up the
inmate’s grievance, and threatened him again – making specific reference to the
inmate filing grievances complaining about the conditions within the jail. Turner,
541 F.3d at 1081. Consequently, the inmate did not file another grievance. Id.
Compared to the case at bar, none of those things happened throughout plaintiff’s
detention in the CCJ, nor does he allege with specificity that they did.
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kiosks, and no threats or intimidation prevented him from utilizing the same.

Consequently, the “intimidation” vaguely alleged in plaintiff’s complaint is

categorically insufficient to excuse plaintiff’s failure to exhaust his administrative

remedies.

B.    Punitive Damages and Attorney’s Fees Claims Remain Subject to
      Dismissal

      In his initial brief, defendant asserted that plaintiff’s claims for punitive

damages and attorney’s fees should be dismissed because the underlying substantive

claims are subject to dismissal. (Doc. 5 at 7.) Plaintiff does not substantively

respond or oppose this contention. (Doc. 9 at 12.) Plaintiff merely states in his

conclusion section that “[t]he Court should also deny [d]efendant Hill’s alternate

request for relief – that the claims for punitive damages and attorney’s fees be

dismissed – because that motion is dependent on the success of [d]efendant Hill’s

primary argument under the PLRA.” (Id.) Given that defendant has shown that

plaintiff’s claims are barred by the PLRA for failure to exhaust administrative

remedies, plaintiff’s claims for punitive damages and attorney’s fees should likewise

be dismissed. See, e.g., Patel v. United States Bank Nat’l Ass’n, No. 1:18-cv-04401-

LMM-AJB, 2019 U.S. Dist. LEXIS 195080, at *17 (N.D. Ga. June 22, 2019)

(“Claims seeking attorney fees and punitive damages are derivative of other claims

and are properly dismissed if the claims they rely on are dismissed.”).
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                              II.   CONCLUSION

      As shown above, and in defendant’s initial brief, plaintiff’s complaint must

be dismissed under the PLRA because plaintiff failed to properly exhaust his

administrative remedies at the CCJ prior to filing this action. On the facts of the

instant case, plaintiff had access to the kiosk whereby he could submit a grievance,

and as shown above, plaintiff repeatedly utilized the system throughout his

detention. However, plaintiff never submitted a grievance, nor did he ever complain

about the conditions of his confinement. “Proper exhaustion is mandatory, and

courts have no discretion to waive it or excuse it based on improper or imperfect

attempts to exhaust, no matter how sympathetic the case or how special the

circumstances.” Booth v. Bobbitt, No. 6:19-cv-69, 2021 Dist. LEXIS 227331, at *3-

4 (S.D. Ga. Nov. 1, 2021) (citing Blake, 136 S. Ct. at 1857; Jones v. Bock, 549 U.S.

199 (2007)). “[C]ourts may only determine whether administrative remedies are

available and whether the inmate properly exhausted these remedies prior to

bringing his federal claim. Id. at *4. Given plaintiff’s complete failure to exhaust or

even attempt to exhaust his administrative remedies, plaintiff failed to satisfy the

requirements of the PLRA prior to filing suit. Consequently, his claims are barred.

      This 14th day of March, 2022.



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                                   FREEMAN MATHIS & GARY, LLP

                                   /s/ A. Ali Sabzevari
                                   Jack R. Hancock
                                   Georgia Bar No. 322450
                                   jhancock@fmglaw.com
                                   A. Ali Sabzevari
                                   Georgia Bar No. 941527
                                   asabzevari@fmglaw.com

661 Forest Parkway, Suite E
Forest Park, Georgia 30297
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)
                                   Attorneys for Defendant




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                    CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 14th day of March, 2022.

                                      FREEMAN MATHIS & GARY, LLP


                                      /s/ A. Ali Sabzevari
                                      A. Ali Sabzevari
                                      Georgia Bar No. 941527
                                      asabzevari@fmglaw.com

661 Forest Parkway, Suite E
Forest Park, Georgia 30297
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing REPLY BRIEF IN

SUPPORT OF DEFENDANT’S MOTION TO DISMISS to the Clerk of Court

using the CM/ECF system which will automatically send electronic mail notification

of such filing to counsel of record:

                         Mark Begnaud & Michael Eshman
                             Eshman Begnaud, LLC
                           315 W. Ponce De Leon Ave
                                   Suite 775
                               Decatur, GA 30030
                         mbegnaud@eshmanbegnaud.com

      This 14th day of March, 2022.


                                       /s/ A. Ali Sabzevari
                                       A. Ali Sabzevari
                                       Georgia Bar No. 941527


FREEMAN MATHIS & GARY, LLP
661 Forest Parkway
Suite E
Forest Park, Georgia 30297-2257
(404) 366-1000 (telephone)
(404) 361-3223 (facsimile)




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